
931 So.2d 359 (2006)
H.H. HANKS, et al.
v.
ENTERGY CORPORATION, et al.
No. 2006-C-0477.
Supreme Court of Louisiana.
June 16, 2006.
*360 In Re: Tracey Hanks, William Hanks, CNA Insurance Company, H.H. Hanks, etal, Lewis Hanks, and J.B. Hanks, applying for Writ of Certiorari and/or Review, No. 37,360 on the docket of the 3rd Judicial District Court for the Parish of Union; and No. 40,486-CA, on the docket of the Court of Appeal, Second Circuit, State of Louisiana.
And, whereas, the Court has this date, pursuant to Article 5, Section 5, of the Constitution of Louisiana, made and issued the following order, to wit"It is ordered that the writ of review issue; that the District Court and the Court of Appeal send up the record in Duplicate of the case; and that counsel for all parties be notified."
Now, therefore, the said District Court and the Court of Appeal is hereby commanded, in the name of the State of Louisiana and of this Honorable Court, to send up forthwith to this Court, at the City of New Orleans, the record in duplicate of the above entitled case.
